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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                           CR 05-1516 KBM

RAY WESTALL OPERATING, INC.,

                       Defendant.


               FINDINGS OF FACT AND CONCLUSIONS OF LAW
       THIS MATTER came before the Court in Las Cruces for a bench trial on January 9,

2006. The Court heard the closing arguments by counsel in Albuquerque on January 26, 2006,

has since reviewed its trial notes and the authorities cited by counsel, and now makes the

following rulings.

                                        Findings of Fact

       1. Defendant Ray Westall Operating, Inc. (“Westall”) is a New Mexico corporation

engaged in the production of oil and gas.

       2. On or about August 16, 2002, Westall had several evaporation pits at its oil

production site in Artesia; the one at issue (“Keohane pit”) was approximately seven yards wide

and thirty-one yards long.

       3. Water produced during the oil extraction process, also known as brine, is pumped into

a holding tank and then reinjected into ground located away from the area by means of a transfer

pump with a high/low electrical shut-off switch.
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       4. If the holding tank reached maximum capacity, the system was designed to have the

overflow of water placed in the disposal pit and then allowed to either evaporate to the air or

percolate into the surrounding soil.

       5. Oil located in the pit will float on the surface of accumulating water and thereby pose a

danger to birds, including some species protected under the Migratory Bird Treaty Act (“MBTA”

or “the Act”).

       6. Over the pond, Westall constructed a netting made out of ordinary chicken wire

approximately 3-4 feet wide and 150 feet long. The chicken wire sections were secured with hog

ring connecters to cover the entire pit and prevent birds from being exposed to any oil hazard.

       7. A barbed wire fence surrounded the pit to keep out livestock.

       8. Each day, Westall’s General Manager Donnie Matthews supervises operations of some

60 to 70 oil pumps.

       9. Pumper employees inspected the pits every four to six weeks.

       10. Federal Bureau of Land Management (“BLM”) employees inspected the pits at

approximately two month intervals, and New Mexico Oil Conservation Division (“OCD”)

employees inspected the pits annually.

       11. Although Westall received a citation for an uncovered oil tank in 2000, over the

sixteen years prior to the incident in question, Westall had not received any notice of

noncompliance with regulations as to its pits.

       12. Sometime in late July or early August 2002, the high/low switch malfunctioned,

probably due to an electrical storm, and the overflow water began to accumulate in the

evaporative pit.


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         13. It would have taken about a week to ten days for the pit to completely fill (about 2000

gallons of liquid) with the overflow discharge.

         14. Unbeknown to Westall, some unknown person removed a six-foot wide section of the

wire along the eastern edge of the pit, probably the result of vandalism.

         15. The water in the pit rose to a level such that in some areas, the oil sludge “ponded”

above the level of the sagging netting.

         16. On August 15, 2002, the carcasses of approximately fifty dead birds encased in oil and

at various stages of deterioration were discovered in the Keohane pit. The following day

government officials recovered thirty-four intact bird carcasses which were sent for forensic

examination and identification.

         17. The thirty-four dead birds belonged to species protected by the MBTA. Specifically,

BLM and U.S. Fish and Wildlife employees recovered the remains of ten kingbird, nine orioles,

eight western kingbird, two pyrrhuloxia, one blackbird, one meadowlark, one lark bunting, one

cactus wren, and one Baltimore or Bullock’s oriole.

         18. Some of the birds’bodies were located above the chicken wire and some were

recovered from underneath the wire netting.

         19. A bird carcass would be expected to sink in about four to five days, depending on the

depth.

         20. During the recovery effort, a bird flew into the pit and was exposed to the oil sludge.

Government agents euthanized the bird at the scene.

         21. There had been no prior incidents of vandalism at Defendant’s pits.

         22. Today’s OCD best practices call for the use of berming rather than an evaporation pit.


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       23. The Keohane pit no longer exists.

                                          Legal Analysis

       Certain birds migrate from one state to another, indeed even one country to another,

without regard to jurisdictional boundaries nor the varying laws humans have put in place that

affect them. In an effort to provide uniform protection for these migratory birds, Congress passed

the MBTA in 1918. It should be noted that unlike the Endangered Species Act (“ESA”), many of

the species protected by the MBTA are among the most plentiful and in no danger of extinction.1

       On the day of trial, Defendant filed a pleading entitled “Memorandum in Support of

Motion for Acquittal.” There was no accompanying written motion, but Defendant indicated that

the memorandum was intended as support for an anticipated motion for acquittal at the

conclusion of the government’s case-in-chief. The essence of the argument goes something like

this: Defendant concedes that the MBTA imposes strict liability for its violation and that

therefore, no mens rea is required to be proven.2 Nevertheless, as to the actus reus element,


       1
               The list of birds now protected as “migratory birds” under the
               MBTA is a long one, including many of the most numerous and
               least endangered species one can imagine. Although the MBTA
               initially protected only a small number of birds, in 1971, the
               Secretary of the Interior expanded its coverage to apply to nearly
               all birds indigenous to the North America, including the wren,
               robin, crow, chickadee, oriole, sparrow, warbler, blackbird,
               bluebird, and many others. 50 C.F.R. § 10.13.

Mahler v. United States Forest Service, 927 F. Supp. 1559, 1576 (S.D. Ind. 1996).

       2
               [I]n United States v. Corrow, 119 F.3d 796, 805 (10th Cir.1997),
               cert. denied, 522 U.S. 1133, 118 S.Ct. 1089, 140 L.Ed.2d 146
               (1998), [we addressed the concept of public welfare offenses] in the
               context of Migratory Bird Treaty Act misdemeanor violations
               carrying a potential fine up to $5,000 or imprisonment of not more

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Defendant contends that the MBTA encompasses only physical acts directed at birds and not

those acts that merely have incidental effects on birds.

       Waiver under FED. R. CIV. P. 12

       The prosecutor first objects to the memorandum citing FED. R. CRIM. P. 12. See U.S. v.

Corbin Farm Service, 444 F. Supp. 510, 515, 525 (E.D. Cal. 1978) and U.S. v. Trammel, 133

F.3d 1343, 1354 (10th Cir. 1998) (defendant waived his duplicity challenge by failing to object to

the indictment until after the jury trial started). Under Rule 12(b)(3)(B), certain motions must be

made before trial including “a motion alleging a defect in the indictment or information.” The

Government characterizes Westall’s memorandum arguments in just that way.

       However, Rule 12 further provides that “at any time while the case in pending, the court

may hear a claim that the indictment or information fails to invoke the court’s jurisdiction or to

state an offense.” Id. Although this is close case as to whether Defendant has waived arguments

regarding the “sufficiency” of the information, Westall’s arguments could also be characterized as

seeking dismissal for failure to state an offense. Defendant maintains, and I am inclined to agree,

that this issue required some factual development before I could adequately address the

arguments. Therefore, I overruled the Government’s objection to the motion insofar as it was

based upon timeliness. The Government has preserved its assertion of error on my part.

       Analysis on the Merits



               than six months, or both. See §16 U.S.C. 707(a) and §18 U.S.C.
               3571(b) (raising maximum fine up to $5,000 in 1987). In Corrow,
               we joined other circuits in holding such offenses are strict liability
               without a scienter requirement.

United States v. Unser, 165 F.3d 755, 763 (10th Cir. 1999).

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       As to the validity of Defendant’s arguments, the Court first looks to the plain language of

the statute. The relevant portion of the MBTA provides as follows:

           Unless and except as permitted by regulations made as hereinafter provided
           in this subchapter, it shall be unlawful at any time, by any means or in
           any manner, to pursue, hunt, take, capture, kill, attempt to take, capture,
           or kill, possess, offer for sale, sell, offer to barter, barter, offer to purchase,
           purchase, deliver for shipment, ship, export, import, cause to be shipped,
           exported, or imported, deliver for transportation, transport or cause to be
           transported, carry or cause to be carried, or receive for shipment,
           transportation, carriage, or export, any migratory bird. . . .

16 U.S.C. § 703 (emphasis added). The sole count of the Information charges that in the course

of its oil production operations, Defendant Westall Operating, Inc. “did, without being permitted

to do so by regulation as required by law, take migratory birds. . . .” Doc. 1 (emphasis added).

       Although the Act itself provides no further definition of “take,” the Secretary of the

Interior has defined “take” under the MBTA to mean “pursue, hunt, shoot, wound, kill, trap,

capture or collect” as well as any attempt to engage in that conduct. See 50 C.F.R. § 10.12.

Defendant argues that the word “kill” must be read in conjunction with the surrounding words of

the definition pursuant to the statutory canon of construction known as noscitur a sociis. See

generally Babbitt v. Sweet Home Chapter of Communities for a Great Oregon, 515 U.S. 687

(1995) (“a word is to be known by the company it keeps”), citing Neal v. Clark, 95 U.S. 704,

708-09 (1878). If that canon is followed, Defendants believe that under the MTBA, “kill” applies

only to conduct aimed at possessing or controlling wildlife. See Doc. 15.

       Most appellate courts have embraced Defendant’s position. In Newton County Wildlife

Ass’n v. U.S. Forest Service, 113 F.3d 110 (1997), the Eighth Circuit agreed with the Ninth

Circuit “that the ambiguous terms ‘take’and ‘kill’in 16 U.S.C. § 703 mean ‘physical contact of



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the sort engaged in by hunters and poachers, conduct which was undoubtedly a concern at the

time of the statute’s enactment in 1918.’” Id. at 115, citing Seattle Audubon Soc’y v. Evans, 952

F.2d 297, 302 (9th Cir. 1991).3 On that basis, the Eighth and Ninth Circuits have held that the

MBTA does not preclude the selling of timber that may fall within migratory bird habitats. See id.

It should be noted, however, that those decisions were in the context of civil lawsuits seeking

injunctive relief.4

        However, the Second Circuit did uphold an MBTA misdemeanor conviction where the

conduct fell outside the realm of poaching or hunting. In United States v. FMC Corp., 572 F.2d

902 (2nd Cir. 1978), a manufacturer of pesticides unintentionally caused the deaths of migratory

birds that came in contact with a contaminated wastewater pond used in its manufacturing



        3
          See also, Mahler v. U.S. Forest Service, 927 F. Supp. 1559 (S.D. Ind. 1996) (“Properly
interpreted, the MBTA applies to activities that are intended to harm birds or exploit harm to
birds, such as hunting and trapping, and trafficking in birds and bird parts. The MBTA does not
apply to other activities that result in unintended deaths of migratory birds.”)
        4
         Lower courts have also dealt with the issue in the context of suits to enjoin logging
operations. and have reached similar conclusions.

                 The words “take” and “kill” were used in a context that clearly
                 focused on hunting, trapping, and poaching. This context is
                 confirmed by the regulations under the MBTA, which define “to
                 take” in the MBTA as “to pursue, hunt, shoot, wound, kill, trap,
                 capture, or collect, or attempt to pursue, hunt, shoot, wound, kill,
                 trap, capture, or collect.” §50 C.F.R. 10.12. The connection
                 between these words and hunting, trapping, poaching, and trade in
                 birds and their parts is apparent. There simply is no signal in any of
                 these statutory terms that Congress intended the MBTA to be
                 applied to any and all human activity that may result in unintended
                 and accidental deaths of migratory birds (including logging
                 operations).

Mahler, 927 F. Supp. at 1579.

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process. There, as it does here, the government argued that MBTA prohibition as to “killing”

should be read “without limitation.” Id. at 905. The FMC court rejected that position because

such a broad ruling could lead to absurd results.

       The FMC court did find, however, that strict liability criminal prosecutions are appropriate

for bird deaths that result from some types of human activities that only indirectly affect protected

birds. Relying on the “extrahazardous activities doctrine,” the FMC court affirmed the conviction

of the manufacturing company for making a highly toxic chemical known to be dangerous to

humans and failing to take steps such that the deadly pesticide would not contaminate the pond.

Id. at 908. Whether or not the manufacturer knew of the chemical’s danger to birds was deemed

irrelevant. Id. Yet the Second Circuit did not draw a bright line for delineating what types of

other conduct beyond poaching or hunting could form the basis for a misdemeanor prosecution.

       Just one month before the FMC decision, the Chief Judge of the Eastern District of

California faced a similar issue. See United States v. Corbin Farm Service, 444 F. Supp. 510

(1978). In Corbin Farm, migratory birds died from eating alfalfa from a field that had been

sprayed with a registered insecticide. As did the FMC court, Chief Judge MacBride found that an

MBTA misdemeanor conviction could stand when the defendant’s dangerous chemicals

accidentally poisoned migratory birds. Focusing on the dangers inherent with using pesticides, the

court reasoned that “[w]hen dealing with pesticides, the public is on notice that it should exercise

care to prevent injury to the environment and other persons; a requirement of reasonable care

under the circumstances of this case does not offend the Constitution.” Id. at 536.

       Unlike FMC, however, Corbin Farms seems to indicate that a negligence standard should

be imposed rather than strict liability when the conduct underlying the MBTA violation is not


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directed at birds.5 Chief Judge MacBride cautioned that “[i]f defendants acted with reasonable

care or if they were powerless to prevent the violation, than a very different question would be

presented.” Id. Here, Defendant Westall argues that strict liability cannot be imposed because

their oil pit operations were not directed at the birds and do not constitute “extrahazardous”

activities. But even if I were to find that the Corbin Farm rationale applied here, Defendant

maintains that it exercised reasonable care to assure the safety of migratory birds and that the

actions of others are responsible for the birds’demise.

        In response, the prosecution argues that the statute’s phrase “by any means or in any

manner” means just that, and the government relies on United States v. Moon Lake Elec. Ass’n,

45 F. Supp.2d 1070, 1079 (D. Colo. 1999). In Moon Lake, District Judge Babcock pronounced,

“I do not regard the following language as vague or ambiguous: ‘it shall be unlawful at any time,

by any means or in any manner, to . . . kill . . . any migratory bird.’” Id., quoting 16 U.S.C.

§ 703. How then can there be a principled distinction between activities directed at bird and those

indirectly affecting birds?

        In the absence of ambiguity, there is no apparent need to resort to maxims of statutory

construction as to the agency’s use of the word “kill” in its definition of “take” or any reason to

explore the Act’s legislative history. Yet Judge Babcock continued on to thoroughly address both

of these matters.

        Legislative history provides no clear insight as to congressional intent. The Moon Lake


        5
         Westall contends that the Ninth Circuit’s later decision in Audubon effectively overruled
Corbin Farm’s finding that the MBTA covers conduct beyond that engaged in by hunters and
poachers. See Seattle Audubon Soc’y v. Evans, 952 F.2d 297 (9th Cir. 1991). However, the
Audubon court specifically found the reasoning of the FMC and Corbin Farm decisions to be
“inapposite” since those case did not deal with “habitat destruction.” Audubon, 952 F.2d at 303.

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opinion describes in great detail the MBTA’s legislative history, so I will not repeat it here. See

id. at 1079-82. Some aspects of the history reflect the Act was only “intended to regulate

recreational and commercial hunting.” Id. at 1080. Yet other portions of the history indicate that

conduct beyond hunting or poaching was intended to fall within the Act’s proscriptions. Most

telling is the fact that many of the protected species under the MBTA are not considered game

birds. Id. at 1081. Suffice it to say that I, like Judge Babcock, find that “the legislative history of

the MBTA supports differing interpretations.” Id. at 1082.

        As to statutory construction, Judge Babcock rejected the position that “take” as defined

by the Secretary of the Interior in 50 C.F.R. § 10.12 was restricted to activities purposefully

directed at birds. See Moon Lake, 45 F. Supp.2d at 1072-1079. In doing so, Judge Babcock

relied on the Supreme Court’s decision in the Babbitt v. Sweet Home case cited above that dealt

with the Endangered Species Act (“ESA”). Defendant contends that such reliance was misplaced.

        The ESA defines “take” as used in that legislation to include “harass, harm, pursue, hunt,

shoot, capture, or collect, or to attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).

The Secretary of the Interior defined “harm” as used in the EPA to include indirect acts which

result in actual death or injury to protected wildlife including habitat modification and

degradation. 50 C.F.R. § 17.3 (1994). In the Babbitt case, the Court of Appeals for the District

of Columbia reasoned that the term “harm” must be read in conjunction with the other terms used

in the statute to define “take.” Babbit, 17 F.3d 1463. Applying the noscitur a sociis doctrine of

statutory construction, the Court of Appeals held that “harm” applied only to “the perpetrator’s

direct application of force against the animal taken. . . .” Id. at 1465.

        The Supreme Court reversed, and held that the Secretary of Interior’s interpretation of


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“harm” in the ESA is reasonable. Among other things, the Babbitt Court found that the ordinary

understanding of the word “harm” encompassed activities both directed against and those

indirectly affecting an endangered species. Babbitt, 515 U.S. at 2413. The Court noted that any

other interpretation resulted in the term “harm” as having “no meaning that does not duplicate the

meaning of other words that § 3 uses to define ‘take’.” Id.

       In Moon Lake, Judge Babcock noted that activities such as habitat modification or

degradation were not at issue, and therefore the Babbitt case was “factually inapposite.” Moon

Lake, 45 F. Supp.2d at 1077. However, he decided that in interpreting the MBTA, “the Supreme

Court’s method of analyzing legislative language is instructive.” Id. at 1078.

       Defendant Westall argues that Judge Babcock incorrectly relied on the Supreme Court’s

opinion regarding the term “harm” when he concluded that the MBTA includes indirect activities

that kill migratory birds. Unfortunately, the Moon Lake opinion does quote extensively from that

section of the Supreme Court’s opinion in Babbitt discussing the term “harm” in the context of

the ESA. See id. at 1078-79. Yet as Defendant correctly observes, unlike the ESA, the MBTA

does not prohibit “harm” to wildlife. I disagree, however, that Judge Babcock relied on the

Court’s definition of “harm” in Babbitt in reaching his decision.

       Moon Lake’s rationale instead rested on Babbitt’s premise that every word of a statute

should, if possible, be given effect. See Babbitt, 515 U.S. at 697-97; see also Mackey v. Lanier

Collection Agency & Service, Inc., 486 U.S. 825, 837 (1988) (“we are hesitant to adopt an

interpretation of a congressional enactment which renders superfluous another portion of that

same law.”). Indeed, the Supreme Court has cautioned “that when the statute’s language is plain,

the sole function of the courts – at least where the disposition required by the text is not absurd –


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is to enforce it according to its terms.” Lamie v. United States Trustee, 540 U.S. 526, 534

(2004) (original quotations and citations omitted).

        Judge Babcock strove to give the word “kill” some meaning independent of the other

prohibited activities to avoid finding the term “kill” to be mere surplusage. Moon Lake, 45 F.

Supp.2d at 1079. He therefore concluded that the prohibited acts under the MBTA must include

activities beyond poaching or hunting that cause the death of migratory birds to confer any

independent meaning to “kill.” See id. at 1079 (“to hold otherwise would. . . essentially read that

word out of the MBTA and the Secretary’s definition of take.”)

        Of course, “[t]he canon requiring a court to give effect to each word ‘if possible’is

sometimes offset by the canon that permits a court to reject words ‘as surplusage’if ‘inadvertently

inserted or repugnant to the rest of the statute. . . .’” Chicksaw Nation v. United States, 534 U.S.

84 (2001), quoting K. Llewellyn, The Common Law Tradition 525 (1960). Defendant Westall

argues that such repugnancy is demonstrated by the absurd results that could result if the MBTA

imposes criminal penalties for activities not directed at migratory birds that unintentionally cause

their death.

               Under the absurdity doctrine, a court should adhere to a statute’s plain
               meaning unless doing so would produce absurd results. Courts should
               invoke this “absurdity exception” to the plain meaning rule under only the
               most extraordinary circumstances. The Supreme Court has observed that it
               “rarely invokes [an absurd results test] to override unambiguous
               legislation.” Barnhart v. Sigmon Coal Company, 534 U.S. 438, 460, 122
               S.Ct. 941, 955, 151 L.Ed.2d 908 (2002). A leading treatise on statutory
               construction explained that “the absurd results doctrine should be used
               sparingly because it entails the risk that the judiciary will displace legislative
               policy on the basis of speculation that the legislature could not have meant
               what it unmistakably said.” 2A Norman J. Singer, Statutes and Statutory
               Construction § 46:07 (6th ed.2000).



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United States v. Rudolph, 224 F.R.D. 503, 507 n.18 (N.D. Ala. 2004)

        The Government concedes, and Judge Babcock acknowledged, the possibility of absurd

results with Moon Lake’s interpretation of the MBTA. Indeed, the FMC opinion warned that a

statutory construction which “would bring every killing within the statute, such as deaths caused

by automobiles, airplanes, plate glass modern office buildings or picture windows in residential

dwellings into which birds fly, would offend reason and common sense.” See FMC, 572 F.2d at

905.6

        What, then, assures that absurd results will not flow from imposing liability for unintended

bird deaths resulting from “indirect takings”? The Second Circuit trusted in “the sound discretion

of prosecutors and the courts.” FMC, 575 F.2d at 905. I, like others, find little solace in that

answer. Indeed, “for many defendants who may well be quite law-abiding, the significance of

having any federal criminal conviction cannot be diminished by the fact that the penalties are not

terribly severe.” Mahler, 927 F. Supp. at 1582-83. Moreover, the possibility of six months in

prison seems much more than a de minimus penalty to me. See 16 U.S.C. § 707 (a) (maximum

fine of $15,000 and/or imprisonment up to 6 months).

        Like Judge Babcock, “I agree that courts should not rely on prosecutorial discretion to

ensure that a statute does not ensnare those beyond its proper confines.” Moon Lake, 45 F. Supp

at 1084. I, too, am loathe to construe a criminal statute in such a way that society must “depend


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           In fact, these are everyday occurrences. See Larry Martin Corcoran, Migratory Bird
Treat Act: Strict Liability for Non-Hunting, Human Caused Deaths, 77 Denv. U. L. Rev. 315
(1999). One study estimates that cats are responsible for the death of 38.7 million birds per year
in Wisconsin alone. Id. at n. 203. Indeed, over the years, my pet poodle brought me more gifts
of bird carcasses than I dare remember. At closing arguments I asked counsel if I could be
prosecuted for allowing him outside under the government’s killing “by any means or in any
manner” theory of liability. For a moment, I could have heard a pin drop.

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on the good will of those who enforce it” to assure that no absurd results occur. Id.

       In the Moon Lake opinion, Judge Babcock instead looks to the principles of “proximate

causation” to provide protection from absurd results. Id. at 1085. In Babbitt, the majority stated

           We do not agree with the dissent that the [ESA] regulation covers results
           that are not “even foreseeable. . . no matter how long the chain of causality
           between [the act] and injury.” Respondents have suggested no reason why
           either the “knowingly violates” or the “otherwise violates” provision of the
           “harm” regulation itself should not be read to incorporate ordinary
           requirements of proximate causation and foreseeability.

Babbitt, 515 U.S. at 697 n.9 (citation omitted). Indeed, Justice O’Connor’s concurrence in

Babbitt reasoned, “It is not hard to imagine conduct that, while ‘indirect’(i.e., nonpurposeful),

proximately causes actual death or injury to individual protected animals; indeed, principles of

proximate cause routinely apply in the negligence and strict liability contexts.” Babbitt, 515 U.S.

711 n* (O’Connor, J. concurring)(citation omitted).

       Moreover, Justice O’Connor recognized that the absence of a scienter requirement did not

automatically impose liability for harms resulting from an indirect activity.

           Strict liability means liability without regard to fault; it does not normally
           mean liability for every consequence, however remote, of one's conduct.
           See generally W. Keeton, D. Dobbs, R. Keeton, & D. Owen, Prosser and
           Keeton on Law of Torts 559-560 (5th ed. 1984) (describing “practical
           necessity for the restriction of liability within some reasonable bounds” in
           the strict liability context). I would not lightly assume that Congress, in
           enacting a strict liability statute that is silent on the causation question, has
           dispensed with this well-entrenched principle.

Id. at 712 (O’Connor, J. concurring). In the context of the MBTA, I agree with the Moon Lake

rationale and will likewise look to the principles of proximate causation in avoiding absurd results.



       In summary, I find the plain language of both the Act and its implementing regulations to


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be clear and unambiguous. As Defendant acknowledges, the MBTA imposes strict liability. Yet

to determine whether an activity is “directed” at birds, one must necessarily look to the purpose,

aim or “intent” in performing the act. Defendant’s proposed reading of the MBTA would graft a

“mens rea” requirement onto the “actus reus” element of the crime that, in essence, would

amount to an “end run” around strict liability. Therefore, I find that the terms “take” and “kill” do

not limit themselves to direct applications of force purposefully directed at birds, and will look to

proximate causation for protection against absurd results.7

                                          Conclusions of Law

       Under the MBTA, Defendant Ray Westall Operating, Inc. is strictly liable for the deaths of

the migratory birds recovered from the Keohane pit on August 16, 2002 if the element of

proximate causation is demonstrated by the government beyond a reasonable doubt. I am

persuaded that the birds were actually caused by the pooled oil, and now I must now determine if

the actions or inactions of Defendant Westall proximately caused the deaths.

       Again, in the context of the ESA, Justice O’Connor reviewed the principle of proximate

causation.

             Proximate causation is not a concept susceptible of precise definition. It is
             easy enough, of course, to identify the extremes. The farmer whose
             fertilizer is lifted by a tornado from tilled fields and deposited miles away in
             a wildlife refuge cannot, by any stretch of the term, be considered the
             proximate cause of death or injury to protected species occasioned thereby.
             At the same time, the landowner who drains a pond on his property, killing

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          I should note that all of the above approaches including my own have been subject to
some criticism. See e.g., Corcoran, Migratory Bird Treaty Act, supra, at 355 (arguing for an
administrative solution: “An intellectually honest, and reasonably objective basis for distinguishing
appurtenances of modern society cannot be found in theories of proximate causation,
impossibility, good faith or due care, etc. In addition, the efforts of the courts to fashion such a
limitation is an undemocratic interference in the processes of representative government.”).

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           endangered fish in the process, would likely satisfy any formulation of the
           principle. We have recently said that proximate causation “normally
           eliminate the bizarre,” and have noted its “functionally equivalent”
           alternative characterizations in terms of foreseeability and duty. Proximate
           causation depends to a great extent on considerations of fairness of
           imposing liability for remote consequences. The task of determining
           whether proximate cause exists in the limitless fact patterns sure to arise is
           best left to the lower courts.

Babbitt, 515 U.S. 713 (O’Connor, J. concurring) (quotations and citations omitted).

       There is no question in my mind that Defendant was aware of the dangers posed by the

oily sludge. At trial, expert testimony was received on the subject, and common knowledge of oil

spills such as the Exxon Valdez disaster in Alaska make oil a known danger to birds. See also

generally, Corcoran, Migratory Bird Treaty Act, supra (Part VII - “Bird Deaths Caused by

Instrumentalities of Modern Civilization. . .”). Moreover, the prosecution here offered evidence

of a prior notice of non-compliance when migratory birds killed in an exposed oil storage tank. I

have considered this evidence only for the purpose of demonstrating defendant’s knowledge of

the potential harm and for no other purpose. See FED. R. EVID. 404(b). It is undisputed that the

netting was specifically designed and erected to prevent birds and other livestock from having

access to the Keohane pit.

       It was also foreseeable that a failure to adequately maintain the netting would expose the

migratory birds to the oily substance and thereby likely lead to their demise. True, Defendant

operated over a decade and a half without any notices of noncompliance with regard to their oil

pit operations, and that time period included both scheduled and unscheduled inspections by

Westall’s pumpers and other regulatory agencies.

       Defendant argues that it should not be found guilty because a series of remote and



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unforeseeable events – the electrical storm about two weeks before bird carcasses were noticed,

the resulting malfunction of the high/low switch causing water to drain into the pit, and damage

from vandalism – came together to cause the tragedy. In my mind, the question boils down to

whether and resulting injury to the migratory birds was sufficiently foreseeable and avoidable to

hold Westall accountable.

        True, there was no evidence of past incidents of vandalism occurring at the Keohane pit.

Nevertheless, with the known dangers posed by the pit, I cannot say that Westall’s practice of

inspecting a pit only once every four to six weeks served as adequate protection against the

foreseeable dangers that such vandalism can create if it occurs. Ultimately, I determine that these

traumatic bird death were foreseeable and avoidable with more frequent inspections, and that

strict liability is therefore appropriate.

        I find Defendant Ray Westall Operating, Inc. guilty of the Class A misdemeanor as

charged in the Indictment. Information will be provided by Defendant to a Probation Officer for

preparation of a pre-sentence report. After having reviewed the PSR, Defendant’s counsel can

file objections prior to the sentencing hearing. Sentencing will be scheduled upon the Court’s

receipt of the PSR.

                                              ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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